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10                          UNITED STATES DISTRICT COURT
11                         SOUTHERN DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,                          Case No.: 3:18-cr-03425-GPC
14                                     Plaintiff,
                                                        ORDER DENYING MOTION AND
15   v.                                                 SUPPLEMENTAL MOTION FOR
                                                        COMPASSTIONATE RELEASE
16   ARTURO LARA-VILLARUYA,
17                                  Defendant.          [ECF Nos. 101, 111].
18
19         I. INTRODUCTION
20         Defendant Arturo Lara-Villaruya filed a pro se motion seeking compassionate
21   release or reduction of his sentence under 18 U.S.C. § 3582(c) (“Motion”). (ECF No.
22   101.) Following his Motion, the Court appointed counsel to assist Defendant in seeking
23   compassionate release. (ECF Nos. 102, 109). On July 27, 2020, the Government filed a
24   response in opposition (“Opp.”) to Defendant’s Motion. (ECF No. 105.) On September
25   11, 2020, Defendant, through counsel, filed a Reply. (ECF No. 110.) On October 14,
26   2020, Defendant filed a supplemental motion to reduce sentence (“Supplemental
27   Motion”). (ECF No. 111.) For the reasons that follow, Defendant’s Motion and
28   Supplemental Motion are DENIED.

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 1         II. BACKGROUND
 2         Defendant was convicted by jury verdict of one count each of possession of
 3   methamphetamine with intent to distribute and possession of fentanyl with intent to
 4   distribute in violation of 21 U.S.C. § 841 (A)(1). (ECF Nos. 50, 91.) Defendant was
 5   sentenced to 57 months imprisonment followed by a three-year period of supervised
 6   release. (ECF No. 91.) Defendant is presently housed at the Safford Federal Correctional
 7   Institution (“SFCI”) and as of the time of this Order, has served approximately sixteen
 8   months, or about 28% of his 57-month sentence. (Opp. at 6.)
 9         Defendant is a 59-year-old Latino man and states that he suffers from poor blood
10   circulation and osteoporosis, and is pre-diabetic. (ECF No. 101 at 6, 17; ECF No. 110 at
11   7–8.) Defendant states that his medical conditions are deteriorating while he is in
12   custody, that he is unable to get the treatments he needs while incarcerated because of
13   delays resulting from the COVID-19 pandemic, and that he is at higher risk of serious
14   illness should he contract COVID-19 while in custody. (ECF No. 101 at7; ECF No. 110
15   at 7–8) Defendant also asserts he is the only caregiver for his mother, who suffers from a
16   heart condition and “advanced Alzheimer’s disease,” requires “assistance with daily
17   living,” is “unable to be left alone,” and needs “constant care.” (ECF No. 110 at 5.)
18   Defendant states his brother used to care for his mother but is no longer able to do so
19   given his recent illness and heart failure, and that his wife and sister are unable to provide
20   caregiving assistance for Defendant’s mother due to their respective childcare obligations
21   and health conditions, and that his elderly stepfather cannot provide the assistance his
22   mother requires. (Id.; ECF No. 110-1, Ex. A.) In his Supplemental Motion, Defendant
23   explains that his daughter recently experienced a serious health crisis, which has left her
24   hospitalized in the intensive care unit in critical condition. (ECF No. 111 at 3–4.)
25         Defendant now petitions this Court for compassionate release on two bases: (1) his
26   health issues and (2) his family circumstances, particularly the caretaking needs of his
27   mother and daughter. (ECF Nos. 101, 110, 111.)
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 1         III. DISCUSSION
 2         Defendant moves for release under 18 U.S.C. § 3582(c)(1)(A), which
 3   provides, in relevant part:
 4         The court may not modify a term of imprisonment once it has been
           imposed except that—
 5
           (1) in any case—
 6         (A) the court, upon motion of the Director of the Bureau of Prisons, or
                upon motion of the defendant after the defendant has fully
 7
                exhausted all administrative rights to appeal a failure of the Bureau
 8              of Prisons to bring a motion on the defendant's behalf or the lapse
                of 30 days from the receipt of such a request by the warden of the
 9
                defendant's facility, whichever is earlier, may reduce the term of
10              imprisonment (and may impose a term of probation or supervised
                release with or without conditions that does not exceed the
11
                unserved portion of the original term of imprisonment), after
12              considering the factors set forth in section 3553(a) to the extent that
                they are applicable, if it finds that—
13
                   (i)   extraordinary and compelling reasons warrant such a
14                       reduction; or
                   (ii) the defendant is at least 70 years of age, has served at least
15
                         30 years in prison, pursuant to a sentence imposed under
16                       section 3559(c), for the offense or offenses for which the
                         defendant is currently imprisoned, and a determination has
17
                         been made by the Director of the Bureau of Prisons that
18                       the defendant is not a danger to the safety of any other
                         person or the community, as provided under section
19
                         3142(g);
20                                               ...
21
     and that such a reduction is consistent with applicable policy statements issued
22   by the Sentencing Commission.
23         Accordingly, the Court must consider two questions: first, whether
24   Defendant has fulfilled the administrative exhaustion requirement; second, whether
25   Defendant has demonstrated extraordinary and compelling reasons for a sentence
26   reduction.
27         The First Step Act of 2018, Pub. L. No. 115-39, 132 Stat. 5194, “amends
28   numerous portions of the U.S. Code to promote rehabilitation of prisoners and

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 1   unwind decades of mass incarceration. United States v. Brown, 411 F. Supp. 3d 446,
 2   448 (S.D. Iowa 2019) (citing Cong. Research Serv., R45558, The First Step Act of
 3   2018: An Overview 1 (2019)). One of the changes resulting from the Act is that it
 4   “allows defendants, for the first time, to petition district courts directly for
 5   compassionate release.” Id. As one district court recently provided:
 6         The effect of the amendments is that a district judge has the ability to
           grant a prisoner’s motion for compassionate release even in the face of
 7
           BOP opposition or its failure to respond to a prisoner’s request for
 8         compassionate release in a timely manner . . . . Congress’s express
           purpose in implementing these changes was to expand the use of
 9
           compassionate release sentence reductions under § 3582(c)(1)(A). See
10         e.g. First Step Act, PL 115-391, 132 Stat 5194, 5239 (titling the
           subsection amending § 3582, “Increasing the Transparency and Use of
11
           Compassionate Release”); 164 Cong. Rec. S7314-02, 2018 WL
12         6350790 (Dec. 5, 2018) (statement by Senator Cardin, cosponsor of the
           First Step Act, noting that its purpose was to “expand[s] compassionate
13
           release” and “expedite[] compassionate release applications”).
14
15   United States v. Young, No. 2:00-CR-00002-1, 2020 WL 1047815, at *5 (M.D.
16   Tenn. Mar. 4, 2020); see also United States v. Maumau, No. 2:08-CR-00758-TC-11,
17   2020 WL 806121, at *4 (D. Utah Feb. 18, 2020) (“[O]ne of the express purposes of
18   the First Step Act was to increase the use and transparency of compassionate
19   release.”).
20      A. Exhaustion requirement
21      Section 3582(c)(1)(A) imposes an exhaustion requirement on the defendant,
22   requiring him to fully exhaust all administrative rights to appeal before he may move
23   the court for release. On May 27, 2020, Defendant filed a request for emergency
24   compassionate release pursuant to 18 U.S.C. § 3582 with the Warden of SFCI (ECF
25   No. 101 at 16.) On June 30, 2020, the Warden denied Defendant’s request. (Id.) The
26   Government does not contest the issue of exhaustion in its Opposition. (Opp.)
27   Defendant has properly satisfied the exhaustion requirement, and the Court may
28   adjudicate the merits of his Motion.

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 1      B. Extraordinary and Compelling Circumstances
 2         Section 3582(c)(1)(A) permits a sentence reduction only upon a showing of
 3   “extraordinary and compelling reasons,” and only if “such a reduction is consistent
 4   with applicable policy statements issued by the Sentencing Commission.” Section
 5   1B1. 13 of the Sentencing Guidelines further clarifies that a sentence reduction
 6   under 18 U.S.C. §(c)(1)(A) may be ordered in the event the court determines,
 7   “after considering the factors set forth in 18 U.S.C. § 3553(a), that:
 8         (1)(A) Extraordinary and compelling reasons warrant the reduction; . . .
 9         (2) The defendant is not a danger to the safety of any other person or to the
           community, as provided in 18 U.S.C. §3142(g); and
10         (3) The reduction is consistent with this policy statement.”
11   Application Note 1 to the Guidelines provision enumerates certain circumstances
12   constituting “extraordinary and compelling reasons” that justify a sentence
13   reduction, including certain medical conditions, advanced age, certain family
14   circumstances, or some “other” reason “[a]s determined by the Director of the
15   Bureau of Prisons.” The Note stipulates that “a serious physical or medical
16   condition . . . that substantially diminishes the ability of the defendant to provide
17   self-care within the environment of correctional facility and from which he or she
18   is not expected to recover” establishes “extraordinary and compelling reasons” in
19   justification for compassionate release.
20         Defendant argues his underlying health conditions, namely his osteoporosis
21   and poor blood circulation, are deteriorating while he is in prison and he is not
22   receiving appropriate treatment, and that his age and race put him at a heightened
23   risk of severe illness if he were to contract COVID-19 at SFCI. (ECF No. 101 at
24   6–7; ECF No. 110 at 7–8.) In addition, Defendant states that the caretaking needs
25   of his family, particularly of his mother, who requires daily assistance and care,
26   (ECF No. 101 at 8), and of his daughter who has recently been hospitalized for
27   seizures and a heart attack, amount to extraordinary and compelling circumstances
28   in favor of granting his early release from SFCI. (ECF No. 111). Defendant asserts

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 1   that he is the only one who can shoulder the caregiving needs of his mother, as
 2   other members of his family are either incapacitated or lack the time to provide
 3   care in light of other conflicting familial obligations, and that his daughter’s
 4   condition underscores his need to be with his family. (ECF No. 101 at 7–8); (ECF
 5   No. 111 at 2–3). The Government argues that Defendant’s conditions and
 6   circumstances – namely his health, the risk of infection with COVID-19 and
 7   subsequent serious illness, and the caretaking needs of his family – do not merit a
 8   sentencing reduction. (Opp. at 9.) The Government asserts Defendant’s underlying
 9   conditions do not put him at an increased risk of harm in the event he contracts
10   COVID-19 while at SFCI and that these conditions can be adequately maintained
11   under the medical supervision of staff at SFCI. (Opp. at 10–11.)
12         Upon review of the Centers for Disease Control and Prevention’s (“CDC”)
13   current list of medical conditions that have been found likely to increase an
14   individual’s susceptibility to severe effects of COVID-19, which includes “asthma,
15   obesity, diabetes, chronic kidney disease, severe obesity, coronary artery disease,
16   history of stroke and COPD,” Defendant’s asserted osteoporosis, poor blood
17   circulation, and pre-diabetes do not clearly appear to put him at higher risk of
18   serious health consequences in the event he contracts COVID-19. People with
19   Certain Medical Conditions, Ctrs. for Disease Control & Prevention,
20   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
21   medical-conditions.html. While the Court notes that scientific knowledge about the
22   risks associated with underlying medical conditions and an individual’s increased
23   susceptibility of severe illness from COVID-19 is constantly developing, the Court
24   finds that Defendant has not identified a health condition that puts him at risk of
25   serious illness should he contract COVID-19 based on the available evidence. The
26   Court notes that Defendant, aged 59, is more susceptible to the harms of COVID-
27   19 than those in younger age groups, as data provided by the CDC suggests that
28   the risk of severe COVID-19 complications in adults continually increases with

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 1   age. As noted by the CDC, “people in their 50s are at higher risk for severe illness
 2   than people in their 40s. Similarly, people in their 60s or 70s are, in general, at
 3   higher risk for severe illness than people in their 50s. The greatest risk for severe
 4   illness from COVID-19 is among those aged 85 or older.” Older Adults, Ctrs. For
 5   Disease Control & Prevention, https://www.cdc.gov/coronavirus/2019-ncov/need-
 6   extra-precautions/older-adults.html. 1 The Court recognizes that identifying what
 7   constitutes an intolerable level of risk in this situation is a fraught exercise. But
 8   based on the facts of this case, which indicate that Defendant does not suffer from
 9   any health conditions that place Defendant at higher risk of severe illness, his age
10   alone does not rise to the level of an extraordinary and compelling reason
11   justifying his release.
12          Further, Defendant has not shown that, absent any connection to adverse
13   COVID-19 outcomes, his alleged health issues “substantially diminish[ ] [his]
14   ability to provide self-care within the environment of a correctional facility and
15   from which he . . . is not expected to recover.” U.S.C.G. §1B1.13 Comment
16   n.1(A)(ii); Perez, 451 F. Supp. 3d at 293; see also United States v. Weidenhamer,
17   No. CR1601072001PHXROS, 2019 WL 6050264, at *5 (D. Ariz. Nov. 8, 2019)
18   (“Chronic conditions that can be managed in prison are not a sufficient basis for
19   compassionate release); United States v. Hernandez, No. 1:10-CR-249 AWI, 2020
20   WL 5658249, at *3 (E.D. Cal. Sept. 23, 2020). Defendant argues that he has not
21   received needed medical attention for injuries as a result of delays caused by the
22
23   1
       Defendant also argues that his ethnicity puts him at increased risk of harm due to COVID-19. The
     CDC notes that some racial and ethnic minority groups are disproportionately affected by COVID-19,
24   but indicates that inequities in social determinants of health, rather than risk factors specific to COVID-
25   19, are what contribute to the increased risk of infection and complications among these communities.
     Health Equity Considerations and Racial and Ethnic Minority Groups, Ctrs. For Disease Control and
26   Prevention, https://www.cdc.gov/coronavirus/2019-ncov/community/health-equity/race-ethnicity.html;
     see also United States v. Martin, No. 2:18-CR-00124-JDL-1, 2020 WL 5752850, at *3 (D. Me. Sept. 25,
27   2020) (“While the CDC’s analysis presents a troubling picture of the impact systemic racism has had on
     public health in minority communities, it does not suggest that Black individuals are otherwise
28   inherently predisposed to COVID-19 infection and complications.”).

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 1   pandemic, specifically that he has not promptly received an MRI for his shoulder
 2   injuries. (ECF No. 101 at 6, 17). However, based on the facts Defendant has
 3   provided, the Court cannot find that his ability to provide self-care has been
 4   substantially diminished while incarcerated because he is not able to receive an
 5   MRI or other medical services quickly. (Id. at 6–7, 17.) The Motion suggests that
 6   these are longstanding health issues, and Defendant has not provided
 7   documentation showing that they require immediate attention that he has been
 8   unable to receive at SFCI. Accordingly, the Court finds that Defendant has not
 9   demonstrated extraordinary and compelling reasons justifying his release based on
10   his medical conditions.
11         Defendant also argues that the caretaking needs of his family, specifically
12   his mother and daughter, constitute “extraordinary and compelling reasons” in
13   favor of his Motion. (ECF No. 101 at 7,8); (ECF No. 111 at 2-3). Though the
14   Government does not address this argument, this Court will consider whether
15   Defendant’s alleged family circumstances amount to “extraordinary or compelling
16   reasons” for his release.
17         This Court notes that, although the Sentencing Guidelines provide a basis for
18   familial circumstances that may provide grounds for a reduction in sentence, it is
19   not bound to consider only those circumstances explicitly included in the language
20   of the Guidelines. See U.S.S.G. § 1B1.13 Application Note 1(C) (stating family
21   circumstances include “(i) [t]he death or incapacitation of the caregiver of the
22   defendant’s minor child or minor children,” and “(ii) [t]he incapacitation of the
23   defendant’s spouse or registered partner when the defendant would be the only
24   caregiver for the spouse or registered partner”); United States v. Yoda, 15-CR-95
25   (AJN), 2020 WL 5502325, at *3 (S.D.N.Y. Sept. 11, 2020) (“[a]s other courts have
26   noted in reference to [the family circumstances] category, ‘a court may find that
27   there exists an extraordinary and compelling reason other than those specifically
28   enumerated in the Application notes to § 1B1.13.’”) (quoting United States v. Lisi,

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 1   440 F. Supp. 3d 246, 251–52 (S.D.N.Y. 2020)). Defendant’s circumstances,
 2   which do not involve the incapacitation of his spouse or death or incapacitation of
 3   the caregiver to his minor child, do not fit neatly within the policy statement’s
 4   application notes. (ECF Nos. 101, 111). Nonetheless, the possibility that other
 5   family circumstances may present extraordinary and compelling reasons for release
 6   is not foreclosed. See U.S.S.G. § 1B1.13 Application Note 1(D) (noting there may
 7   “exist[] in the defendant’s case an extraordinary and compelling reason other than,
 8   or in combination with, the reasons described in subdivisions (A) through (C)”);
 9   Yoda, 2020 WL 5502325, at *2 (noting “that the need to care for one’s aging and
10   sick parent may, in certain circumstances, warrant a finding that an extraordinary
11   and compelling reason exists”).
12         However, the Court still must be guided by the principles of the
13   extraordinary and compelling reasons standard. For many defendants, particularly
14   for those serving long sentences, difficult and even tragic events often occur during
15   their incarceration, but not all can serve as bases for compassionate release.
16   Instead, as the Application Notes to the Sentencing Guidelines suggest, there may
17   be events in a defendant’s family life that necessitate his or her release for
18   important practical reasons. Here, the Court finds United States v. Lisi instructive,
19   as that court noted the fundamental “principle of the Family Circumstances
20   category is that there exists an extraordinary and compelling reason for release
21   when the defendant has a close family member who is completely unable to care
22   for himself or herself and for whom the defendant would be the only available
23   caregiver.” Lisi, 440 F. Supp. 3d at 252. In Lisi, the court found the caregiving
24   needs of the defendant’s mother, though not explicitly included in the language of
25   the U.S.S.G. § 1B1.13 Application Notes, were extraordinary and compelling
26   reasons within the scope of the statute because the court “received evidence from
27   several sources indicating that [the defendant] is the only available caregiver for
28   his mother.” Id. In the instant matter, however, Defendant has not specified what

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 1   particular caregiving role he would fulfill upon his release, nor has Defendant
 2   sufficiently shown that he is the only available caregiver for either his mother or
 3   daughter. (ECF No. 101 at 5); (ECF No. 111 at 2-3).
 4         With regard to Defendant’s daughter, despite the severity of her medical
 5   condition, it is unclear that Defendant’s presence is needed for any particular
 6   caregiving responsibilities. Defendant has explained his daughter recently suffered
 7   from several medical issues, is currently in the intensive care unit, and remains in
 8   critical condition. (ECF No. 111 at 2.) While the Court recognizes the severity of
 9   Defendant’s daughter’s health condition and does not doubt that Defendant and his
10   family are suffering as a result of these tragic circumstances, his filing indicates
11   only that he “and his family are in need of each other during this particularly
12   challenging time.” (ECF No. 111, at 3). Without specific information as how
13   Defendant is needed to care for his daughter, the Court cannot discern how
14   Defendant’s release would affect the care his daughter is receiving. Furthermore,
15   although Defendant’s wife suffers from moderate asthma and depression, (ECF
16   No. 101 at 17), the Court is unable to conclude based on the evidence before it that
17   these conditions prevent Defendant’s wife from providing adequate care for their
18   daughter.
19         Similarly, Defendant has failed to demonstrate that he is the only person
20   who can care for his mother, who suffers from Alzheimer’s and a heart condition.
21   Although Defendant states that it’s very hard for his stepfather, who is in his 80s,
22   to take care of his mother, the briefing indicates that his stepfather lives with his
23   mother and currently provides some care despite the difficulties he faces in doing
24   so. (ECF No. 101 at 21; ECF No. 110 at 5; ECF No. 110-1, Ex. A.) Defendant’s
25   sister, despite her other caretaking responsibilities for her grandchildren, including
26   one grandchild with special needs, “does provide some assistance to her mother.”
27   (ECF No. 110 at 6). Defendant’s wife has chronic health problems and
28   responsibility for her daughter and “two granddaughters who live in her home and

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 1   are not yet school aged,” but Defendant has not specified how these circumstances
 2   render her unable to provide support. (ECF No. 110 at 6.) Although the Court does
 3   not doubt that Defendant’s mother’s Alzheimer’s diagnosis, alongside financial
 4   difficulties, other family member’s health problems, and Defendant’s incarceration
 5   is a “confluence of hardship” for the family, the information presented to the Court
 6   does not indicate that Defendant’s mother is entirely without care such that
 7   Defendant’s release is the only available means of ensuring her wellbeing. See
 8   Yoda, 2020 WL 5502325 at *3 (“it is relevant, if not dispositive, that [the
 9   defendant’s] father does not appear to depend exclusively on [the defendant] for
10   care at this time”).
11          The Court does not discount the challenges Defendant and his family are
12   currently facing. However, the Court finds that Defendant has not presented the
13   sort of extraordinary and compelling reasons that enable the Court to grant him
14   compassionate release under Section 3582.
15       ii. Public Safety and §3553(A) Factors
16          Even if the Court were to conclude that Defendant’s family circumstances or
17   health issues weighed in favor of his release, the factors outlined in Sections 3553
18   and 3582 also require consideration of public safety, the seriousness of the offense,
19   and the need to avoid unwarranted sentencing disparities. 18 U.S.C. §§
20   3553(a)(2)(C); 3582(c)(1)(A)(ii). Defendant states his rehabilitation while in
21   prison, as shown by his participation in various educational, work, and
22   rehabilitative programs at SFCI, indicate that his time already served constitutes a
23   sentence consistent with the 3553(a) factors and that he is not a danger to the
24   community.2 (ECF No. 101 at 5; ECF No. 110 at 13, 17.) Defendant also points to
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26
     2
       Defendant lists his accomplishments while at SFCI as extraordinary and compelling circumstances for
27   a sentence reduction. (ECF No. 101 at 5.) The Court does not find this argument persuasive because
     “[p]ursuant to 28 U.S.C. § 994(t), rehabilitation of the defendant is not, by itself, an extraordinary and
28   compelling reason for purposes of [the] policy statement.” 18 U.S.C. § 3582(c)(1)(A)(3). The Court

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 1   the “non-violent and unaggravated nature” of his offense and limited criminal
 2   history as evidence that he would not pose a danger if released. (ECF No. 110 at
 3   17). The Government argues the Section 3553(a) factors weigh against a sentence
 4   reduction because Defendant has only served, at the time the opposition was filed,
 5   one year and one month of his 57-month sentence, and because Defendant’s prior
 6   criminal history is “serious.”3 (Opp. at 5, 12.)
 7          Although the Court recognizes that Defendant has made significant progress
 8   in furthering his education, rehabilitation, and vocational skills while serving his
 9   sentence, the Court notes that Defendant’s offense—which endangered the public
10   by placing fentanyl and methamphetamine into the community—indicates some risk
11   of danger to the public. More significantly, the fact that Defendant has only served
12   approximately 28% of his 57-month sentence suggests that releasing Defendant at
13   the sixteen-month mark would create an unwarranted sentencing disparity between
14   Defendant and others convicted of similar offenses and would not reflect the
15   seriousness of the offense. The Court therefore finds that even had Defendant’s
16   circumstances qualified under the extraordinary and compelling reasons standard, a
17   reduction of his sentence would not be justified under Sections 3582 or 3553.
18   \\\
19   \\\
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21
     therefore declines to consider Defendant’s rehabilitation progress alone as grounds for satisfying
22   §3582(c)(1)(A).
     3
       The Government also argues that the Section 3553(a) sentencing factors weigh against release because
23   “the disease is sadly rampant in Yuma, Arizona, where Defendant says he would return to live.” (Opp. at
     11). Not only is it unclear how this assertion relates to the sentencing factors, but the fact that COVID-
24   19 is broadly circulating in a community does not render a congregate setting like a prison, given the
25   many opportunities for introduction and rapid spread of the virus, safer than quarantining at home. See
     Lisa B. Puglisi et al., Estimation of COVID-19 Basic Reproduction Ratio in a Large Urban Jail in the
26   United States, Annals of Epidemiology (Sept. 9, 2020),
     https://www.sciencedirect.com/science/article/pii/S1047279720303471?via%3Dihub (estimating a high
27   reproduction ratio for COVID-19 in the jail setting and predicting that “correctional facilities will
     continue and community rates of infection will not decrease if jails are not a central focus of public
28   health strategies to mitigate the spread of the epidemic”).

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 1   III. CONCLUSION
 2         For the reasons set forth above, Defendant’s Motion for compassionate
 3   release pursuant to 18 U.S.C. § 3582(c) is DENIED.
 4         IT IS SO ORDERED.
 5   Dated: November 2, 2020
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